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                                                                                                     United States Bankruptcy Court
                                                                                                          Southern District of Texas

                                                                                                             ENTERED
                               UNITED STATES BANKRUPTCY COURT                                            September 08, 2021
                                 SOUTHERN DISTRICT OF TEXAS                                               Nathan Ochsner, Clerk
                                       HOUSTON DIVISION
    In re:                                                          §     Chapter 11
                                                                    §
    MCDERMOTT INTERNATIONAL, INC., et al.,3                         §     Case No. 20-30336 (DRJ)
                                                                    §
                     Reorganized Debtors.                           §     (Jointly Administered)
                                                                    §
                                                                    §
    MICHAEL VAN DEELEN                                              §
                                                                    §
                     Plaintiff,                                     §     Adv. Proc. No. 20-03309
                                                                    §
    v.                                                              §
                                                                    §
    DAVID DICKSON,                                                  §
    and STUART SPENCE,                                              §
    and SCOTT LAMB,                                                 §
    and 10 JOHN/JANE DOES                                           §
                                                                    §
                     Defendants.                                    §
                                                                    §       (Docket No. 36)

             ORDER GRANTING DEFENDANTS’ EMERGENCY MOTION TO SEAL

             Upon the motion (the “Motion”)4 of the above-captioned Defendants (collectively, the

“Defendants” or “McDermott”) for entry of an order (this “Order”), authorizing them to file certain

the Van Deelen Communications under seal, all as more fully set forth in the Motion; and this

Court having jurisdiction over this matter pursuant to 28 U.S.C. §1334; and this Court having

found that this is a core proceeding pursuant to 28 U.S.C. §157(b)(2); and this Court having found

that it may enter a final order consistent with Article III of the United States Constitution; and this



3
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor McDermott
International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 757 North
Eldridge Parkway, Houston, Texas 77079.
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     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


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Court having found that venue of this proceeding and the Motion in this district is proper pursuant

to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the Defendants’ notice of the

Motion and opportunity for a hearing on the Motion were appropriate and no other notice need be

provided; and this Court having reviewed the Motion and having heard the statements in support

of the relief requested therein at a hearing before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.       The Defendants are authorized to file the Van Deelen Communications under seal.

        2.       Except upon further order of the Court after notice to the Defendants, the Van

Deelen Communications shall remain under seal, and shall not be made available to anyone

without order of the Court including in response to any Freedom of Information Act requests.

        3.       Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

        4.       Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

        5.       The Defendants are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

        6.       This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 Dated: ___________, 2020
     Signed: September 08, 2021.                       DAVID R. JONES
                                                       UNITED STATES BANKRUPTCY JUDGE
                                                       ____________________________________
                                                       DAVID R. JONES
                                                       UNITED STATES BANKRUPTCY JUDGE
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